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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                       )         Case Number: 21-13730
                                             )
CITE, LLC,                                   )              Chapter: 11
                                             )
                                             )                       Honorable Janet S. Baer
                                             )
               Debtor(s)                     )

                       ORDER AUTHORIZING SALE FREE AND CLEAR

        This matter coming before the Court for the final hearing on the motion (the "Sale Motion")
[Docket No. 164] filed by Robert Handler, not individually, but solely in his capacity as the Subchapter
V Trustee for the captioned Bankruptcy Estate (the "Trustee") created when the Debtor, CITE, LLC (the
"Debtor") filed its petition for relief under the United States Bankruptcy Code (11 U.S.C. §§ 101, et.
seq., the "Bankruptcy Code") seeking, among other things, orders approving bidding procedures, and
authorizing and approving the sale of the Debtor's assets free and clear of liens, claims and
encumbrances; and the Court having entered an order (the "Sale Procedures Order") [Docket No. 169]
on May 18, 2022, authorizing and approving, among other things, bidding procedures in connection
with the sale of substantially all of the Debtor's assets, and scheduling an auction; and the Court having
reviewed the record in this Case, and having heard statements of counsel; and the Court being fully
advised in the premises and having determined that the legal and factual bases set forth in the Sale
Motion establish just cause for the relief granted herein;

  NOW, THEREFORE, THE COURT HEREBY FINDS, CONCLUDES AND/OR ORDERS THAT:

(A) Background and Jurisdiction

  1. This Court has jurisdiction and authority to enter this Order and grant the relief set forth herein
pursuant to 28 U.S.C. §§ 1334 and 157(b)(2)(A), (N) and (0) and §§ 363(b), 363(f) and 1123 of the
Bankruptcy Code. The venue of this Chapter 11 Case (the "Case") in this District is proper under 28 U.
S.C. §§ 1408 and 1409. The statutory predicates for the relief sought herein are §§ 105, 363, 1123, and
1146 of the Bankruptcy Code and Rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”).

  2. The Court intends for this Order to be a final and appealable order within the meaning of 28 U.S.
C. § 158(a).

  3. On December 3, 2021 (the "Petition Date"), the Debtor filed its voluntary petition for relief under
chapter 11 of the Bankruptcy Code commencing the Case. The Debtor designated itself as a small
business debtor eligible for relief under "Subchapter V" of Chapter 11. The Office of the United States
Trustee appointed Robert Handler, as the Subchapter V Trustee for the Case (the "Trustee").

  4. On March 25, 2022, the Court entered an order that removed CITE, LLC as debtor-in-possession
under 11 U.S.C. § 1185 and provided that under 11 U.S.C. § 1183(b)(5), the Debtor's duties under 11 U.
S.C. §§ 704(a)(8) and 1106(a)(1), (2), and (6) would be performed by Robert Handler, the Subchapter V
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Trustee.
   5. The Debtor's primary assets consist of Real Property commonly known as 505 N. Lake Shore
Drive, Units 207, 209, 209-A, 224, and 7000, Chicago, IL 60611. The Debtor's assets also consist of the
tangible personal property that is used and useful in the operation of the restaurant known as Cite´
located on the 70th floor of Lake Point Tower (the foregoing parcels of real estate are collectively
referred to as the "Real Estate" and the tangible property that is used and useful in the operation of
CITE LLC, other than the Real Estate, is known as the "Personal Property" and collectively the Real
Estate and the Personal Property are known as the "Sale Property") .
(B) The Sale Motion and the Sale Procedures Order

  6. On May 18, 2022, the Court entered the Sale Procedures Order authorizing the Trustee to
implement a process for selling the Debtor's property. [Docket No. 169]

   7. In accordance with the Sale Procedures Order, notice of the proposed Auction was provided to all
parties in interest. As evidenced by the certificates of service filed with the Court on June 2, 2022 [Dkt
No. 184], proper, timely, adequate and sufficient notice of the Sale Motion, the relief granted herein and
the Sale Hearing has been provided in accordance with §§ 102 and 363(b) of the Bankruptcy Code,
Bankruptcy Rules 2002, 6004, 9006, 9007, 9008 and 9014, and the Sale Procedures Order. Such notice
was good and sufficient, and appropriate under the circumstances. No other or further notice of the Sale
Motion, the relief granted herein, the Sale Hearing or the entry of this Order is necessary or shall be
required.

   8. The Trustee and his professionals, agents and other representatives have complied in all material
respects with the Sale Motion and the Sale Procedures Order. Under the circumstances, the Trustee and
his professionals, agents and other representatives have adequately and appropriately marketed the Sale
Property. The Sale was duly noticed and conducted in a diligent, non-collusive, commercially
reasonable, fair and good faith manner, and the bidding procedures afforded a full, fair and reasonable
opportunity for any person or entity to qualify as a bidder, participate in the bidding process and make a
higher or otherwise better offer to purchase the Sale Property.

   9. The Trustee and his professionals, agents and other representatives (a) provided potential
purchasers, upon request, sufficient information to enable them to make an informed judgment on
whether to bid on the Sale Property, and (b) faithfully executed their duties in considering all offers and
bids throughout the bidding process and in determining that Lake Point Tower Investment LLC
("Purchaser") is the successful bidder for the Sale Property on the terms and conditions set forth in the
Purchase and Sale Agreement (the “PSA”) attached hereto as Exhibit 1.

  (C) Objections Overruled.

   10. All objections to the relief granted herein, whether filed, stated on the record in Court or
otherwise, are OVERRULED on the merits and with prejudice to the extent they have not been
withdrawn, waived or resolved. All objections to the relief granted herein that were not timely filed are
forever barred.

  (D) Allocation of Sale Proceeds upon Closing.

   11. Republic Bank, in reliance on the Trustee agreeing to sell the Sale Property to Purchaser
pursuant to this Order in its current form and substance, elected not to exercise its rights under § 363(k)
of the Bankruptcy Code to credit bid.
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  12. At the Closing of the Sale, the Trustee is authorized to:

   A. Disburse sale proceeds to Republic Bank in an amount equal to (a) $3,646,239.98, in satisfaction
of all principal, interest and other amounts owed as of the Petition Date in accordance with proof of
claim numbers 4 and 5, and (b) a per diem amount of $423.78, which represents the amount Republic
Bank believes it is owed as per diem interest at the non-default rate, to be calculated from the Petition
Date through the Closing. These payments are without prejudice to (a) further distributions to Republic
Bank on account of any allowed postpetition amounts under § 506(b), or (b) Republic Bank’s prompt
repayment of any amounts it receives that exceed its allowed secured claims; provided, however, any
further distributions or any repayment shall be subject to further order of Court. Republic Bank shall
file a motion within 21 days of the Closing seeking allowance and, as applicable, further payment, of all
amounts it claims it is owed postpetition under § 506(b).

    B. Disburse sale proceeds of $249,000 to Hilco Real Estate in satisfaction of the $15,000 in expenses
it advanced and the 5% commissions due and payable to any and all real estate brokers, including Hilco
Real Estate, as broker for the Trustee and any real estate broker for Purchaser. Hilco shall promptly
satisfy and pay any brokerage commission owed to the broker for the Purchaser.

  C. Pay any other charges, expenses or amounts customary and necessary to close the sale of the Sale
Property.

   13. All other proceeds from the Sale are to be held by the Trustee in the DIP account, subject to
further order of Court.

  (E) Sale Findings

   14. The offer of Purchaser, upon the terms and conditions set forth in the PSA, including the form
and the total consideration to be realized by the Estate pursuant to the PSA: (a) is the highest and best
offer received for the Sale Property after extensive marketing, including through the bidding
procedures; (b) is fair and reasonable; (c) is in the best interests of the Debtor, its creditors and its
Estate; and (d) constitutes full and adequate consideration and reasonably equivalent value for the Sale
Property.

   15. Purchaser is the successful bidder for the Sale Property in accordance with the Sale Procedures
Order. The Trustee has demonstrated a sufficient basis to enter into the PSA, sell the Sale Property on
the terms outlined therein under §§ 363(b), 363(f) and 1123 of the Bankruptcy Code, and all such
actions are appropriate exercises of the Trustee's business judgment and in the best interests of the
Debtor, creditors, interest holders and the Debtor's Estate.

   16. The Trustee has demonstrated a sufficient and sound business purpose and justification for the
Sale. The PSA and all other ancillary documents required to close the Sale, and all of the terms and
conditions thereof, are hereby approved. The sale and transfer of the Sale Property to Purchaser as set
forth in the PSA is approved pursuant to §§ 105, 363(b), 363(f) and 1123 of the Bankruptcy Code, and
the Trustee and Purchaser and their respective affiliates, officers, directors, employees, professionals,
agents and other representatives are authorized to immediately take any and all such actions as are
necessary or appropriate to consummate and implement the PSA.

  17. The Trustee's determination that the Sale set forth in the PSA constitutes the highest and best
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offer for the Sale Property is a valid and sound exercise of the Trustee's business judgment. The Trustee
has determined that the sale of the Sale Property under the terms set forth in the PSA represents the best
opportunity for the Estate to realize the greatest value for the Sale Property and will provide a greater
recovery for creditors and interest holders than would be provided by any other practical or available
alternative.

   18. Trustee and his professionals, agents and other representatives have complied in all material
respects with the bidding procedures or otherwise kept the notice parties and the Court apprised of the
status of bidding and have complied with all other applicable orders of this Court in negotiating and
entering into the PSA, and the Sale and the PSA comply with the bidding procedures and all other
applicable orders of this Court.

   19. Neither Purchaser nor any of its affiliates, members, officers, directors, shareholders or any of
their respective successors and assigns is an "insider" of the Debtor, as that term is defined in § 101(31)
of the Bankruptcy Code. No common identity of directors or controlling shareholders exists between
the Debtor and Purchaser.

   20. The sale transaction contemplated by the PSA is undertaken without collusion and in “good
faith,” as that term is defined in §363(m) of the Bankruptcy Code, and accordingly, the reversal or
modification on appeal of the authorization provided herein to consummate the Sale shall not affect the
validity of the Sale unless such authorization and consummation of such Sale is duly stayed pending
such appeal.

  (F) Conveyance of Sale Property

   21. Pursuant to §§ 105(a), 363(b) and 1123 of the Bankruptcy Code, the Trustee is authorized to
transfer the Sale Property at Closing (as defined in the PSA) to the Purchaser. The Sale Property shall
be transferred to Purchaser "as is, where is" to the extent provided in the PSA upon and as of the
Closing.

   22. The purchase and sale of the Sale Property and the related transfer constitutes a legal, valid,
binding and effective transfer of the Sale Property and shall be free and clear of all interests, liens,
claims and encumbrances of any kind or nature whatsoever (collectively, "Liens and Claims") because,
in each Case, one or more of the standards set forth §§ 363(f)(l)-(5) of the Bankruptcy Code have been
satisfied. Accordingly, all persons or entities having Liens or Claims against or in any of the Sale
Property shall be forever barred, estopped and permanently enjoined from pursuing or asserting such
Liens and Claims against the Sale Property, Purchaser or any of Purchaser's assets, property, successors
or assigns.

   23. The Trustee is authorized to execute and deliver the PSA, together with all additional
agreements, instruments and documents that may be reasonably necessary or desirable to implement the
PSA and effectuate the provisions of this Order and the transactions approved hereby, all without
further order of the Court. The PSA and any related agreements, documents or other instruments may be
modified, amended or supplemented by the parties thereto and in accordance with the terms thereof,
without further order of this Court, provided that such modification, amendment or supplement does not
have a material adverse effect on the Estate.

   24. Purchaser is not a mere continuation of the Debtor. In particular, for the avoidance of doubt, the
term "Liens and Claims" as used herein includes, without limitation, any mortgage, lien (as such term is
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defined in 11 U.S.C. § 101(37), including any mechanic's, materialman's, broker's, statutory, cash
collateral or carve out lien or any other consensual or non-consensual lien), security interest, lawsuit,
charge, hypothecation, deed of trust, pledge, right of use, first offer or refusal, servitude, restrictive
covenant, lease, sublease, covenant, right of way, option, restriction (including any restriction on
transfer or on the use, voting, receipt of income or other rights or exercise of any attributes of
ownership), conditional sale or other title retention agreements, interest, encumbrance of any kind, debt,
liability, obligation or claim (as that term is defined in 11 U.S.C. § 105(5)), and including any claim
against either Purchaser and/or any of the assets or properties of Purchaser (including the Sale Property)
based on a theory of successor liability, alter-ego or any similar theory of liability, and all costs and
expenses relating thereto.

   25. Except as specifically provided by the PSA or this Order, all entities holding Liens and Claims or
interests in or on any portion of the Sale Property arising under or out of, in connection with or in any
way relating to the Debtor, the Sale Property, the operation of the Debtor's business prior to the Closing
Date or the transfer of the Sale Property to Purchaser, are forever barred, estopped and permanently
enjoined from asserting against Purchaser or its successors or assigns, their property or the Sale
Property, any such Liens and Claims on the Sale Property.

    26. Effective upon Closing, all entities are forever prohibited and permanently enjoined from
commencing or continuing in any manner any action or other proceeding, whether in law or equity, in
any judicial, administrative, arbitral or other proceeding of any sort whatsoever, against Purchaser, its
successors and assigns, or the Sale Property, with respect to any Liens and Claims arising under, out of,
in connection with or in any way relating to the Debtor or the Sale Property prior to the Closing of the
Sale.

  27. On or before the Closing Date, each creditor is authorized and directed to execute such
documents and take all other actions as may be necessary to release Liens and Claims on the Sale
Property, if any, as provided for herein, as such Liens and Claims may have been recorded or may
otherwise exist.

    28. Upon consummation of the Sale, the Trustee and Purchaser are authorized to file termination
statements or lien terminations in any required jurisdiction to remove any record, notice filing, or
financing statement recorded to attach, perfect or otherwise notice any Lien or Claim that is
extinguished or otherwise released pursuant to this Order under § 363 and the related provisions of the
Bankruptcy Code. Notwithstanding the preceding, the provisions of this Order authorizing the transfer
of the Sale Property free and clear of all Liens and Claims shall be self-executing, and the Trustee,
Purchaser and creditors shall not be required to execute or file releases, termination statements,
assignments, consents or other instruments in order for the provisions of this Order to be effectuated,
consummated and/or implemented.

  29. All persons and entities that are in actual or constructive possession of, or that have the ability to
control the surrender or delivery of, some or all of the Sale Property are directed to surrender or deliver
possession of the Sale Property to Purchaser at the Closing or to cause any applicable third party to
surrender or deliver possession of the Sale Property to Purchaser at Closing, at no cost to Purchaser.

  (G) Additional Provisions

  30. Time is of the essence in consummating the Sale. To maximize the value of the Sale Property
and minimize the costs incurred by the Estate, it is essential that the Sale occur promptly, and within the
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time constraints set forth in the PSA. Accordingly, there is cause to lift the stays contemplated by
Bankruptcy Rules 6004 and 6006 and this Order shall be effective immediately upon entry such that the
Trustee and Purchaser are authorized to close the Sale immediately upon entry of this Order.

   31. Nothing contained in any plan of reorganization or liquidation, or order of any type or kind
entered in (a) the Case, (b) any subsequent chapter 7 case into which this Case may be converted, or (c)
any related proceeding after entry of this Order, shall conflict with or derogate from the provisions of
the PSA or the terms of this Order. Notwithstanding § 1191 of the Bankruptcy Code or Article IX of
the Plan, upon confirmation of the Plan, the Sale Property shall not vest in the Debtor or the
Reorganized Debtor and shall remain property of the Estate, subject to sale pursuant to the PSA.

  32. The failure specifically to include any particular provision of the PSA in this Order shall not
diminish or impair the effectiveness of such provision, it being the intent of this Court that the PSA be
authorized and approved in its entirety.

  33. To the extent that this Order is inconsistent with any prior order or pleading with respect to the
Sale Motion in this Case, the terms of this Order shall govern.

   34. Within one business day after the entry of this Order, the Subchapter V Trustee shall cause to be
refunded to Lakeshore Commercial Properties LLC (“LCP”), Crown Chicago, Inc. (“Crown”), Al Lotfi
(“Al,” and along with LCP and Crown, the “LCP Parties”) and/or their counsel the $420,000, earnest
money or deposit previously wired to the IOLTA Account of the Trustee’s counsel by or on behalf of
LCP and/or Crown. Trustee’s counsel is authorized to wire such funds to the Burke, Warren, MacKay
& Serritella, P.C. IOLTA account, which account information shall be provided to Trustee’s counsel.
The Trustee, on behalf of the Estate, and the LCP Parties, on their own behalf and on behalf of their
successors and assigns, hereby release and waive and agree not to assert any and all claims or actions
they may have against each other that are in any way related to the Cite´ bankruptcy proceeding and/or
the sale of the assets of Cite LLC, other than any claims by the LCP Parties for the refund of the
$420,000 earnest money the LCP Parties provided as required by this Order.

  35. By submitting this order, the Trustee has represented that there is an agreement by the Trustee,
on behalf of the Estate, and the LCP Parties, on their own behalf and on behalf of their successors and
assigns, by which they each have released and waived and agreed not to assert any and all claims or
actions they may have against each other that are in any way related to the Cite´ bankruptcy proceeding
and/or the sale of the assets of Cite LLC, other than any claims by the LCP Parties for the refund of the
$420,000 earnest money the LCP Parties provided as required by this Order.

   36. The sale of the Sale Property pursuant to this order is an integral and essential aspect of the
Debtor’s Second Amended Plan of Reorganization, as may be modified or amended from time to time
(the “Plan”) and is being effectuated under the Plan. Accordingly, pursuant to § 1146(a) of the
Bankruptcy Code, the sale to Purchaser or by Seller “may not be taxed under any law imposing a stamp
or similar tax.”

   37. To the extent there are any inconsistencies between the terms of this Order and the PSA
(including all ancillary documents executed in connection therewith), the terms of this Order shall
govern.

    38. Solely for purposes of this Order and the PSA, and for no other purposes, the Trustee has
allocated a value of $190,000 for the personal property that is being sold pursuant to the PSA, which
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amount is based upon the values in the Debtor’s bankruptcy schedules.

   39. The Court shall retain jurisdiction to, among other things, interpret, implement and enforce the
terms and provisions of this Order and the PSA, all amendments thereto and any waivers and consents
thereunder, and each of the agreements executed in connection therewith to which the Debtor is a party
or which has been assigned by the Debtor to Purchaser, and to adjudicate, if necessary, any and all
disputes concerning or relating in any way to the Sale.

   40. The findings and conclusions set forth herein constitute the Court's findings of fact and
conclusions of law under Bankruptcy Rule 7052, made applicable to this proceeding under Bankruptcy
Rule 9014. To the extent that any of the findings of fact herein constitute conclusions of law, they are
adopted as such. To the extent any of the conclusions of law herein constitute findings of fact, they are
adopted as such.

                                                           Enter:




Dated: September 26, 2022                                           United States Bankruptcy Judge

Prepared by:
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                                                        XXXXXXXXXXXXX   $4,680,000.00




                                                        $900,000.00
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